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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
-v-                                                                    :      20-CR-354 (LJL)
                                                                       :
ANTHONY GUZZONE,                                                       :     RESCHEDULING
                                                                       :        ORDER
                            Defendant.                                 :
                                                                       :
---------------------------------------------------------------------- X


LEWIS J. LIMAN, United States District Judge:


       It is HEREBY ORDERED, at the request of the defendant, that the sentencing previously
scheduled for January 7, 2021 is rescheduled to January 19, 2021 at 2:00PM in Courtroom 15C at the
500 Pearl Street Courthouse.




      SO ORDERED.

Dated: November 2, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
